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                        Proceeding Minutes / Proceeding Memo
                  Case #: 18-04097            Case Name: Hugh Ronnie Wallace and Nancy Katherine Wallace
                  Set: 11/15/2018 09:30 am Chapter: 7         Type: bk      Judge Katharine M. Samson
                  matter Motion for Relief from Stay as to Real Property cka 1969 Mill Creek Lane SW, Bogue
                          Chitto, MS 39629. ., in addition to Motion to Compel Abandonment . Filed by Creditor
                          MADISON REVOLVING TRUST 2017 (Attachments: # 1 Exhibit # 2 Proposed Order) (Dkt.
                          #12)



       Minute Entry Re: (related document(s): [12] Motion for Relief From Stay filed by MADISON
      REVOLVING TRUST 2017) Jones to submit Agreed Order due by 11/29/2018; called in by
      Jones' office. (ccannette)




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